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   1    Stephen McArthur (SBN 277712)
        stephen@smcarthurlaw.com
   2    Thomas Dietrich (SBN 254282)
        tom@smcarthurlaw.com
   3    THE MCARTHUR LAW FIRM, P.C.
        9465 Wilshire Blvd., Ste. 300
   4    Beverly Hills, CA 90212
        Telephone: (323) 639-4455
   5
        Attorneys for Plaintiff
   6    Thrive Natural Care, Inc.
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   9                        UNITED STATES DISTRICT COURT
  10                       CENTRAL DISTRICT OF CALIFORNIA
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  12    THRIVE NATURAL CARE, INC.,         Case No. 2:20-CV-9091-PA-AS
  13                   Plaintiff,          PLAINTIFF THRIVE NATURAL
                                           CARE, INC.’S AMENDED
  14          v.                           MEMORANDUM OF
                                           CONTENTIONS OF FACT AND
  15    THRIVE CAUSEMETICS, INC.,          LAW [L.R. 16-4]
  16                   Defendant.          Judge: Hon. Percy Anderson
                                           Trial Date: November 9, 2021
  17                                       Final Pretrial Conf.: October 15, 2021
                                           Courtroom: 9A
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                                                     PLAINTIFF’S AMENDED MEMORANDUM OF
                                                             CONTENTIONS OF FACT AND LAW
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   1   I.    INTRODUCTION
   2         Pursuant to the Court’s Order dated October 7, 2021 (Dkt. 115), and the
   3   preceding Order on Summary Judgment (Dkt. 114), Plaintiff Thrive Natural Care,
   4   Inc. (“Thrive Natural Care”) files this amended Memorandum of Contentions of
   5   Fact and Law.
   6         Defendant Thrive Causemetics, Inc. (“Thrive Causemetics”) made the cold
   7   calculation in 2018 to expand into the skincare market with knowledge that doing
   8   so would infringe Plaintiff Thrive Natural Care’s registered trademarks. Thrive
   9   Causemetics knew its expansion put it into direct competition with Thrive Natural
  10   Care using an almost identical brand: “THRIVE” for skincare versus “THRIVE
  11   causemetics” for skincare.
  12         While Thrive Causemetics attempted twice to get permission to use Thrive
  13   Natural Care’s “Thrive” mark for makeup products, those requests were denied. But
  14   Thrive Causemetics wanted to use the “Thrive” mark, and it wanted to do so
  15   without paying anything. When the parties’ CEOs discussed a license in 2019,
  16   Thrive Natural Care asked Thrive Causemetics to propose a royalty percentage.
  17   Thrive Causemetics broke off the negotiation and never responded, deciding to
  18   keep infringing and in fact broadly expanding its skincare line from one skincare
  19   product in 2018 to over a dozen in 2020. Thrive Causemetics has now spent
  20   millions of dollars on misleading ads wrongfully tying the “THRIVE” mark to
  21   Thrive Causemetics’ new skincare line and has sold over $20 million of infringing
  22   THRIVE-branded skincare products. Thrive Natural Care was left with no choice
  23   but to bring this lawsuit to stop Thrive Causemetics’ knowing, intentional
  24   infringement and the continued expansion of its skincare line.
  25   II.   CLAIMS AND DEFENSES
  26         Thrive Natural Care has pleaded and will pursue the following claims
  27   supported by the evidence identified below.
  28   ///
                                                                   PLAINTIFF’S MEMORANDUM OF
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   1         A.    Summary Statement of Claims Thrive Natural Care Has Pleaded
   2               and Plans to Pursue
   3         Thrive has pleaded and plans to pursue at trial the following claims, each
   4   against Thrive Causemetics:
   5         1.    Claim 1: Thrive Causemetics’ use of the name “Thrive Causemetics”
   6               on skincare products has infringed either or both of Thrive Natural
   7               Care’s federally registered trademarks for the term “Thrive” on
   8               skincare products in violation of the Lanham Act.
   9         2.    Claim 2: Thrive Causemetics’ use of the “Thrive Causemetics” brand
  10               on skincare products constitutes a false designation of origin and is
  11               unfair competition under the Lanham Act, 15 U.S.C. § 1125(a).
  12         3.    Claim 3: Thrive Causemetics’ use of the term “Thrive Causemetics”
  13               on skincare products violates Thrive Natural Care’s trademark rights
  14               established by senior use under California common law.
  15         4.    Claim 4: Thrive Causemetics’ infringement constitutes unfair
  16               competition under California common law.
  17         5.    Claim 5: Thrive Causemetics’ infringement constitutes unfair
  18               competition in violation of Cal. Bus. & Prof. Code § 17200.
  19         B.    Elements Required to Establish Thrive Natural Care’s Claims
  20         Claim 1: The elements required to establish Thrive Natural Care’s claim for
  21   infringement of its registered Thrive trademarks are:
  22         1.    The term “Thrive” is a valid, protectable trademark for skincare
  23               products;
  24         2.    Thrive Natural Care owns the “Thrive” trademark for skincare
  25               products; and
  26         3.    Thrive Causemetics use of the term “Thrive Causemetics” on skincare
  27               products is likely to cause confusion among ordinary consumers as to
  28               the source, sponsorship, affiliation, or approval of the goods.
                                                                   PLAINTIFF’S MEMORANDUM OF
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   1   See Ninth Circuit Manual of Model Civil Jury Instructions (“9th Cir. CJI) No. 15.6.
   2         Claim 2: The elements required to establish Thrive Natural Care’s claim for
   3   false designation of origin in violation of 15 U.S.C. § 1125(a) are:
   4         1.     The term “Thrive” is a valid, protectable trademark for skincare
   5                products;
   6         2.     Thrive Natural Care owns the “Thrive” trademark for skincare
   7                products; and
   8         3.     Thrive Causemetics use of the term “Thrive Causemetics” on skincare
   9                products is likely to cause confusion among ordinary consumers as to
  10                the source, sponsorship, affiliation, or approval of the goods.
  11   See 15 U.S.C. § 1125(a)(1)(A); S. California Darts Ass'n v. Zaffina, 762 F.3d 921,
  12   929 (9th Cir. 2014).
  13         Claim 3: The elements required to establish Thrive Natural Care’s claim for
  14   infringement of the Thrive mark under California common law are:
  15         1.     Thrive Natural Care began using the “Thrive” mark on skincare
  16                products before Thrive Causemetics began using the “Thrive
  17                Causemetics” mark on skincare products; and
  18         2.     There is a likelihood that the “Thrive Causemetics” mark would be
  19                confused with Thrive Natural Care’s “Thrive” mark.
  20   See Juan Pollo Fran., Inc. v. B & K Pollo Enterprises, Inc., ED-CV-13-2010J-
  21   GBSPX, 2015 WL 10695881, at *2 (C.D. Cal. Aug. 6, 2015) (“To state a claim of
  22   trademark infringement under California common law, a plaintiff need allege only
  23   1) their prior use of the trademark and 2) the likelihood of the infringing mark being
  24   confused with their mark.”); Kelley Blue Book v. Car-Smarts, Inc., 802 F. Supp.
  25   278, 289 (C.D. Cal. 1992) (“California common law also provides that ‘whosoever
  26   first adopts and uses a trade name, either within or without the state, is its original
  27   owner.’”); Cities Realty, Inc. v. Brunet, No. B241999, 2013 WL 4017121, at *4
  28   (Cal. Ct. App. Aug. 6, 2013) (“To prove liability for [common law] trademark
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   1   infringement, plaintiff need only prove defendants used the mark plaintiff used first
   2   and continuously.”).
   3         Claim 4: The element required to establish Thrive Natural Care’s claim for
   4   unfair competition under California common law is:
   5         1.     Thrive Natural Care must prove by a preponderance of the evidence
   6                that Thrive Causemetics engaged in either federal trademark
   7                infringement or federal unfair competition.
   8   See Fleischer Studios, Inc. v. A.V.E.L.A. Inc., 772 F. Supp. 2d 1155, 1167 (C.D.
   9   Cal. 2009); Philip Morris v. Liu, 489 F. Supp. 2d 1119, 1123 (C.D. Cal. 2007).
  10         Claim 5: The element required to establish Thrive Natural Care’s claim for
  11   unfair competition under California Bus. & Prof. Code § 17200 is:
  12         1.     Thrive Natural Care must prove by a preponderance of the evidence
  13                that Thrive Causemetics engaged in either federal trademark
  14                infringement or federal unfair competition.
  15   See Moroccanoil, Inc. v. Groupon, Inc., 278 F. Supp. 3d 1157, 1161 (C.D. Cal.
  16   2017); Cleary v. News Corp., 30 F.3d 1255, 1263 (9th Cir. 1994).
  17         Willful Infringement: The element required to establish that Thrive
  18   Causemetics’ infringement or unfair competition was willful is:
  19         1.     Thrive Causemetics knowingly or recklessly disregarded Thrive
  20                Natural Care’s trademark rights.
  21   See Earthquake Sound Corp. v. Bumper Indus., 352 F.3d 1210, 1219 (9th Cir.
  22   2003) (finding found willful trademark infringement where the defendant “utilized
  23   a mark that was similar to that of its competitor, was informed of actual confusion,
  24   and deliberately chose not to make a reasonable effort to ascertain whether it might
  25   actually be infringing.”); Coach, Inc. v. Celco Customs Servs. Co., No. CV-
  26   1110787-MMM-FMOX, 2012 WL 12883972, at *6 (C.D. Cal. Oct. 31, 2012)
  27   (“Willfulness can be established by evidence of knowing conduct or by evidence
  28   that the defendant acted with ‘an indifference to plaintiff’s rights’—in other words,
                                                                    PLAINTIFF’S MEMORANDUM OF
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   1   that defendant willfully blinded himself to facts that would put him on notice that
   2   he was infringing another’s trademarks, having cause to suspect it.”); Bellagio
   3   Jewelry, Inc. v. Croton Watch Co., Inc., No. CV 06–6672, 2008 WL 3905895, at
   4   *13 (C.D. Cal. Aug. 20, 2008) (“After receiving the cease and desist letter,
   5   [defendant] was put on actual notice, which logically demonstrates that any
   6   infringing conduct thereafter was done willfully.”); Hydramedia Corp. v. Hydra
   7   Media Grp., Inc., No. CV-06-05293-DDP-JTLX, 2008 WL 11336118, at *3 (C.D.
   8   Cal. Dec. 29, 2008), aff'd, 392 F. App'x 522 (9th Cir. 2010) (holding “the Court
   9   finds that a showing of ‘objective recklessness’ is sufficient to demonstrate willful
  10   infringement” and noting that standard is consistent with Ninth Circuit decisions
  11   “which permit circumstantial evidence of reckless behavior even where the
  12   infringing party ignores objective evidence of infringement.”); Capbran Holdings,
  13   LLC v. Firemall LLC, No. CV-16-02980-DSFA-FMX, 2017 WL 4769434, at *6
  14   (C.D. Cal. Aug. 23, 2017) (“A defendant may be liable for willful trademark . . .
  15   infringement for knowing conduct or willful blindness.”); Dr. JKL Ltd. v. HPC IT
  16   Educ. Ctr., 749 F. Supp. 2d 1038, 1050 (N.D. Cal. 2010) (“Willful infringement
  17   occurs when the defendant knowingly and intentionally infringes on a trademark.”).
  18         Relief of Disgorgement of Profits: The element required to establish that
  19   Thrive Natural Care is entitled to disgorgement of Thrive Causemetics’ profits on
  20   sales of infringing skincare products is:
  21         1.     Thrive Causemetics’ gross revenues from sales of skincare products.
  22   See 15 U.S.C. § 1117(a) (“In assessing profits the plaintiff shall be required to
  23   prove defendant’s sales only; defendant must prove all elements of cost or
  24   deduction claimed.”).
  25         Relief of Permanent Injunction: The elements required to establish that
  26   Thrive Natural Care is entitled to a permanent injunction are:
  27         1.     Actual success on the merits;
  28         2.     A likelihood of irreparable injury if injunctive relief is not granted;
                                                                     PLAINTIFF’S MEMORANDUM OF
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   1         3.     A balance of hardships favoring Thrive Natural Care; and
   2         4.     That an injunction will advance the public interest.
   3   Wecosign, Inc. v. IFG Holdings, Inc., 845 F.Supp.2d 1072, 1084 (C.D. Cal. 2012).
   4         Relief of Enhanced Damages Under 15 U.S.C. § 1117(a): The elements
   5   required to establish that Thrive Natural Care is entitled to an award of up to treble
   6   damages are:
   7         1.     An enhancement provides proper redress where Thrive Natural Care
   8                was otherwise undercompensated by awarded damages, such as where
   9                there is a potential harm from lingering misimpressions that is unlikely
  10                to be fully captured by lost profits; or
  11         2.     Enhancing damages would advance the cause of deterring the
  12                defendant and others similarly situated from repeating the type of
  13                unfair and deceptive behavior.
  14   See 15 U.S.C. § 1117(a); PepsiCo v. Triunfo-Mex, Inc., 189 F.R.D. 431, 432 (C.D.
  15   Cal. 1999) (“15 U.S.C. § 1117(a) confers authority on the court to treble
  16   defendant’s profits in the event that compensatory damages are inadequate to deter
  17   future infringing conduct.”); Binder v. Disability Group, Inc., 772 F.Supp. 2d 1172,
  18   1182-83 (C.D. Cal. 2011) (holding “when a defendant acts willfully in its
  19   infringement, the Court may award up to treble damages to the plaintiff if it finds
  20   that lost profits are inadequate” and awarding double damages); Taco Cabana Int.,
  21   Inc. v. Two Pesos, Inc., 932 F.2d 1113, 1127 (5th Cir. 1991) (damages
  22   enhancement provides “proper redress to an otherwise undercompensated plaintiff
  23   where imprecise damage calculations fail to do justice, particularly where the
  24   imprecision results from defendant’s conduct.”); Playboy Enters., Inc. v. Baccarat
  25   Clothing Co., Inc., 692 F.2d 1272, 1274-75 (9th Cir. 1982) (explaining the Ninth
  26   Circuit has issued a “mandate . . . to make willful trademark infringement
  27   unprofitable” and noting deterrence value of enhanced award).
  28         Relief of Award of Attorneys’ Fees and Costs: The element required to
                                                                     PLAINTIFF’S MEMORANDUM OF
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   1   establish that Thrive Natural Care is entitled to an award of attorneys’ fees and
   2   costs is:
   3          1.     This is an “exceptional case,” meaning one that stands out from others
   4                 with respect to the substantive strength of a party's litigating position
   5                 (considering both the governing law and the facts of the case) or the
   6                 unreasonable manner in which the case was litigated.
   7   See Octane Fitness, LLC v. ICON Health & Fitness, Inc., 572 U.S. 545, 554 (2014);
   8   SunEarth, Inc. v. Sun Earth Solar Power Co., Ltd., 839 F.3d 1179, 1180-81 (9th
   9   Cir. 2016).
  10          Relief of Pre- and Post-Judgment Interest on Damages Awards: The elements
  11   required to establish entitlement to an award of interest are:
  12          1.     The award of post judgment interest on a district court judgment is
  13                 mandatory.
  14          2.     For prejudgment interest, the element that must be established is that
  15                 the balance of the equities favors awarding prejudgment interest.
  16   See 28 U.S.C. § 1961; Barnard v. Theobald, 721 F.3d 1069, 1078 (9th Cir. 2013);
  17   Oracle USA, Inc. v. Rimini Street, Inc., 879 F. 3d 948, 963 (9th Cir. 2018).
  18          C.     Brief Description of Key Evidence in Support of Thrive Natural
  19                 Care’s Claims
  20          The key evidence that Thrive Natural Care will introduce in support of its
  21   claims is identified below.
  22                 1.    Claim 1: Federal Trademark Infringement
  23         Evidence, including emails, correspondence, documents, and testimony
  24          demonstrating the process in creating the “Thrive” brand name for Thrive
  25          Natural Care’s products and relation of Thrive name to skincare products.
  26         Trademark applications and registration certificates for each of the Thrive
  27          Registrations and the statement concerning incontestability of the ’942
  28          Registration from the USPTO.
                                                                      PLAINTIFF’S MEMORANDUM OF
                                                                    CONTENTIONS OF FACT AND LAW
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   1        Evidence, including emails, correspondence, documents, and testimony
   2         demonstrating the history of Thrive Natural Care and its Thrive-branded
   3         skincare products, including but not limited to the historical and current
   4         sales, marketing and sales channels, and customers of Thrive Natural Care.
   5        Evidence, including emails, correspondence, documents, and testimony
   6         showing Thrive Natural Care has marketed and sold its Thrive skincare
   7         products under the Thrive trademark continuously since 2013.
   8        Evidence, including emails, correspondence, documents, and testimony
   9         demonstrating that Thrive Natural Care applied for and received two federal
  10         trademark registrations for the Thrive mark.
  11        Evidence, including emails, correspondence, documents, and testimony
  12         demonstrating that Ecomundi Ventures, LLC undertook substantial planning
  13         activities relating to the Thrive products and Thrive mark through 2012 and
  14         into 2013, and that Ecomundi transferred all goodwill and the entire business
  15         relating to the Thrive mark to Thrive Natural Care in a May 2013
  16         assignment.
  17        Evidence, including emails, documents, and testimony demonstrating the
  18         value of the Thrive mark.
  19        Samples and photographs of both parties’ skincare products.
  20        Evidence, including emails, correspondence, documents, and testimony
  21         showing there is significant overlap between the parties’ marketing channels
  22         for skincare products.
  23        Evidence, including emails, documents, and testimony showing Thrive
  24         Natural Care regularly acquires customers through its website and online
  25         advertising, both parties advertise on the same online and social media
  26         sources, both parties’ products are appear together online on the same sites
  27         and are depicted together on the same search engine results, and both parties’
  28         products are purchased primarily online through websites with URLS that
                                                                    PLAINTIFF’S MEMORANDUM OF
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   1         both begin with the word “Thrive”.
   2        Evidence, including emails, documents, and testimony showing that both
   3         parties target the same types of consumers.
   4        Evidence, including emails, documents, and testimony showing that both
   5         parties’ products are priced similarly and fall in mid-market range, not in the
   6         high-end luxury skincare market or low-end value market.
   7        Evidence, including emails, correspondence, documents, and testimony
   8         demonstrating Thrive Causemetics’ prior knowledge of Thrive Natural Care,
   9         the Thrive products, and the Thrive trademark registration before Thrive
  10         Causemetics began selling the infringing skincare products, including but not
  11         limited to that Thrive Causemetics was in possession of a trademark
  12         clearance report identifying the Thrive ’942 Registration in 2015, Thrive
  13         Causemetics contacted Thrive Natural Care for permission to use the Thrive
  14         mark in 2016, which request was rejected, subsequent cease-and-desist
  15         communications between the parties, and a call between the parties’ CEOs in
  16         2019 during which a reasonable royalty was discussed.
  17        Evidence, including emails, correspondence, documents, and testimony
  18         demonstrating the nature and extent of Thrive Causemetics’ advertising and
  19         marketing of its Thrive Causemetics skincare products, including but not
  20         limited to search engine optimization and search engine marketing and other
  21         online marketing and advertising.
  22        Evidence, including emails, documents, and testimony demonstrating the
  23         strength of the parties’ marks and the strength of the association between
  24         “Thrive” and each of the parties.
  25        Evidence, including emails, correspondence, documents, and testimony
  26         concerning instances of actual confusion between Thrive Natural Care’s
  27         “Thrive” mark and Thrive Causemetics’ “Thrive Causemetics” mark and
  28         confusion as to the origin of the parties’ products.
                                                                      PLAINTIFF’S MEMORANDUM OF
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   1        Evidence, including emails, documents, and testimony showing that Thrive
   2         Causemetics’ use of the Thrive Causemetics mark has damaged the value of
   3         Thrive Natural Care’s Thrive mark.
   4        Rob Wallace’s expert report, rebuttal report, and testimony that consumer
   5         survey respondents demonstrated a high level of confusion between the
   6         parties’ skincare products, the online presence of the parties’ products and
   7         advertising, and the exposure of Thrive Causemetics’ products and
   8         advertising to consumers searching online for “Thrive” and related terms in
   9         connection with skincare products.
  10        David Drews’ expert report and testimony concerning the reasonable royalty
  11         amount, amount of disgorged profits, and corrective advertising damages
  12         required to compensate Thrive Natural Care for the injury caused by Thrive
  13         Causemetics’ actions.
  14               2.     Claim 2: Federal Unfair Competition
  15        The key evidence that Thrive Natural Care will introduce in support of Claim
  16         2 is the same as the evidence it will introduce in support of Claim 1.
  17               3.     Claim 3: Common Law Trademark Infringement
  18        The key evidence that Thrive Natural Care will introduce in support of Claim
  19         3 is the same as the evidence it will introduce in support of Claim 1.
  20               4.     Claim 4: Common Law Unfair Competition
  21        The key evidence that Thrive Natural Care will introduce in support of Claim
  22         4 is the same as the evidence it will introduce in support of Claim 1.
  23               5.     Claim 5: Unfair Competition Under Cal. Bus. & Prof. Code
  24                      § 17200
  25        The key evidence that Thrive Natural Care will introduce in support of Claim
  26         5 is the same as the evidence it will introduce in support of Claim 1.
  27               6.     Willful Infringement
  28        The key evidence that Thrive Natural Care will introduce in support of its
                                                                    PLAINTIFF’S MEMORANDUM OF
                                                                  CONTENTIONS OF FACT AND LAW
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   1         allegation that Thrive Causemetics’ infringement and unfair competition was
   2         willful is the same as the evidence it will introduce in support of Claim 1, and
   3         in particular evidence demonstrating Thrive Causemetics’ prior knowledge of
   4         the Thrive trademark registrations via a trademark clearance report, USPTO
   5         office actions, cease-and-desist letter, and party-to-party communications.
   6        Evidence, including documents and testimony concerning Thrive
   7         Causemetics’ arguments to the USPTO and communications to Thrive
   8         Natural Care demonstrating that Thrive Causemetics knew it would be
   9         infringing if it expanded into the skincare market.
  10               7.     Relief: Disgorgement of Defendant’s Profits
  11        Evidence, including documents, testimony, and expert testimony concerning
  12         Thrive Causemetics’ revenues and profits on sales of infringing skincare
  13         products.
  14        Evidence, including documents, testimony, and expert testimony concerning
  15         Thrive Causemetics’ claimed deductible expenses demonstrating they are not
  16         tied directly to production or sale of any infringing product.
  17        David Drews’ expert report and testimony concerning revenue and profit
  18         figures for Thrive Causemetics and the amount of disgorged profits.
  19               8.     Relief: Permanent Injunction
  20        The key evidence that Thrive Natural Care will introduce in support of
  21         issuance of a permanent injunction is the same as the evidence it will
  22         introduce in support of Claim 1 with the addition of the evidence identified
  23         below.
  24        Evidence, including emails, correspondence, documents, and testimony
  25         showing that Thrive Natural Care has suffered irreparable harm in the loss of
  26         control over its brand, goodwill, and reputation.
  27               9.     Relief: Enhanced Damages
  28        The key evidence that Thrive Natural Care will introduce in support an award
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                                                                   CONTENTIONS OF FACT AND LAW
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   1         of enhanced damages is the same as the evidence it will introduce in support
   2         of Claim 1 and willful infringement.
   3                10.   Relief: Attorneys’ Fees and Costs
   4        The key evidence that Thrive Natural Care will introduce in support an award
   5         of attorneys’ fees and costs is the same as the evidence it will introduce in
   6         support of Claim 1 and willful infringement.
   7                11.   Relief: Attorneys’ Fees and Costs
   8        The key evidence that Thrive Natural Care will introduce in support an award
   9         of attorneys’ fees and costs is the same as the evidence it will introduce in
  10         support of Claim 1 and willful infringement.
  11                12.   Relief: Pre- and Post-Judgment Interest
  12        The key evidence that Thrive Natural Care will introduce in support an award
  13         of pre-judgment interest is the same as the evidence it will introduce in
  14         support of Claim 1 and its damages requests. An award of post-judgment
  15         interest is mandatory.
  16         D.     Summary Statement of Affirmative Defenses Thrive Causemetics
  17                Has Pleaded and Plans to Pursue
  18         Thrive Causemetics has pleaded and plans to pursue at trial the following
  19   affirmative defenses:
  20         1.     Laches: Each of Thrive Natural Care’s claims is barred by laches.
  21         2.     Abandonment: One of Thrive Natural Care’s two federal trademark
  22                registrations, the ’942 Registration, is invalid because the underlying
  23                application was improperly assigned from the original applicant to
  24                Thrive Natural Care.
  25         E.     Elements Required to Establish Thrive Causemetics’ Affirmative
  26                Defenses
  27         Laches: The elements required to establish Thrive Causemetics’ affirmative
  28   defense of laches are:
                                                                    PLAINTIFF’S MEMORANDUM OF
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   1         1.     Thrive Natural Care knew or should have known it had a provable
   2                infringement claim against Thrive Causemetics and delayed filing suit
   3                for more than four years; and
   4         2.     Thrive Causemetics suffered prejudice from Thrive Natural Care’s
   5                unreasonable delay.
   6   Miller v. Glenn Miller Prods., Inc., 454 F.3d 975, 997 (9th Cir. 2006) (limitations
   7   period for laches on trademark claims is four years in California); Tillamook
   8   Country Smoker, Inc. v. Tillamook Cty. Creamery Ass’n, 465 F.3d 1102, 1108 (9th
   9   Cir. 2006) (explaining that a “plaintiff should not be obligated to sue until its right
  10   to protection has ripened such that plaintiff knew or should have known that it had
  11   a provable infringement claim against defendant”).
  12         Abandonment: The elements required to establish Thrive Causemetics’
  13   affirmative defense of abandonment of the ’942 Registration, which must be proven
  14   by clear and convincing evidence, are:
  15         1.     The assignment of the Thrive mark and trademark application from
  16                Ecomundi Ventures, LLC (“Ecomundi”) to Thrive Natural Care in
  17                May 2013 failed to include any goodwill in the Thrive mark;
  18         2.     Thrive Natural Care was not the successor to Ecomundi’s ongoing and
  19                existing business as related to the Thrive mark; and
  20         3.     The owner of the Thrive mark discontinued use of the mark with intent
  21                not to resume such use.
  22   See 15 U.S.C. §§ 1060(a)(1), 1127; eMachines, Inc. v. Ready Access Memory, Inc.,
  23   No. EDCV00-00374-VAP-EEX, 2001 WL 456404, at *5 (C.D. Cal. Mar. 5, 2001)
  24   (“Because a trademark owner's certificate of registration is prima facie evidence of
  25   the registration and continued use of the mark, the burden of proof is on the party
  26   seeking to show abandonment, and abandonment must be shown by clear and
  27   convincing evidence.”); Partners for Health & Home, L.P. v. Seung Wee Yang, No.
  28   CV-09-07849-CBM-RZX, 2010 WL 11549564, at *3 (C.D. Cal. Sept. 13, 2010)
                                                                      PLAINTIFF’S MEMORANDUM OF
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   1   (“The burden of proof is on the party seeking to show abandonment, which must be
   2   shown by clear and convincing evidence.”); Prudential Ins. Co. of America v.
   3   Gibraltar Fin. Corp. of Calif., 694 F.2d 1150, 1156 (9th Cir.1982) (holding
   4   abandonment must be “strictly proved”); 3 McCarthy on Trademarks and Unfair
   5   Competition § 17:12 (5th ed.) (“The majority of courts have interpreted the ‘strictly
   6   proved’ rule to mean that evidence of the elements of abandonment must be clear
   7   and convincing.”); Cash Processing Servs. v. Ambient Entm’t, Inc., 418 F.Supp.2d
   8   1227, 1231-1232 (D. Nev. 2006) (same).
   9         F.     Brief Description of Key Evidence in Support of Thrive Natural
  10                Care’s Opposition to Affirmative Defenses
  11         The key evidence that Thrive Natural Care will introduce in support of its
  12   opposition to Thrive Causemetics’ affirmative defenses is identified below.
  13                1.    Laches
  14        Evidence, including emails, documents, and testimony demonstrating that
  15         Thrive Causemetics’ move from color cosmetics into the skincare market in
  16         2018 constitutes progressive encroachment into a new market, such that
  17         laches clock only begins in late 2018 at the earliest.
  18        Evidence, including emails, correspondence, documents, and testimony
  19         demonstrating that Thrive Causemetics repeatedly asserted both to Thrive
  20         Natural Care and to the USPTO that the parties sold different types of
  21         products to different markets during the period when Thrive Causemetics
  22         only sold color cosmetics, and there thus was allegedly no likelihood of
  23         confusion between those products.
  24        Evidence, including emails, documents, and testimony demonstrating that
  25         Thrive Natural Care did not believe it had a provable infringement claim
  26         until Thrive Causemetics moved into the skincare market.
  27                2.    Abandonment
  28        Evidence, including emails, correspondence, documents, and testimony
                                                                        PLAINTIFF’S MEMORANDUM OF
                                                                      CONTENTIONS OF FACT AND LAW
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   1         demonstrating that Ecomundi engaged in substantial business planning
   2         relating to the “Thrive” mark and Thrive-branded skincare products in 2012
   3         and early 2013 which built goodwill in the Thrive mark, including hiring a
   4         R&D Director, developing branding and packaging, creating product recipes,
   5         and forming and building business relationships.
   6        Evidence, including emails, correspondence, documents, and testimony
   7         demonstrating Thrive Natural Care received from Ecomundi an assignment
   8         of all goodwill in the “Thrive” trademark that had been built through these
   9         business planning activities and all of the business relating to the “Thrive”
  10         mark.
  11         G.      Similar Statements for Third Parties
  12         There are no third parties in this matter.
  13         H.      Anticipated Evidentiary Issues and Thrive Natural Care’s Position
  14         Anticipated evidentiary issues will be briefed in the parties’ motions in
  15   limine, which have yet to be filed and which will be exchanged as of the day of
  16   filing this memorandum. A brief summary of known issues is below.
  17         1.      Thrive Causemetics seeks to introduce USPTO search results for
  18   marks containing the word “thrive” or any variants of that word, plus purported
  19   evidence of third-party use of the name “thrive” without any indication of the extent
  20   of such use. Thrive Natural Care asserts such evidence is irrelevant and prejudicial
  21   and should be excluded.
  22         2.      Thrive Causemetics’ damages expert, Karl Schulz, failed to conduct
  23   any independent investigation whatsoever concerning whether Thrive Causemetics’
  24   allegedly deductible costs were “of actual assistance” in the production,
  25   distribution, or sale of the infringing products. See Kamar Int’l, Inc. v. Russ Berrie
  26   & Co., 752 F.2d 1326, 1332 (9th Cir. 1984) (setting standard to prove deductible
  27   expenses). Mr. Schulz merely parroted the information he received from the CFO
  28   of Thrive Causemetics, without conducting any verification. Mr. Schulz’ opinions
                                                                     PLAINTIFF’S MEMORANDUM OF
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   1   therefore are not proper expert testimony and should be excluded.
   2         I.     Identification of Issues of Law and Thrive Natural Care’s Position
   3                1.     Whether “Thrive” is merely descriptive of skincare products
   4         Because Thrive Causemetics’ abandonment defense only pertains to one of
   5   Thrive Natural Care’s two registered trademarks, Thrive Causemetics is alleging the
   6   second registration is invalid because “Thrive” is merely descriptive. There is no
   7   legal basis to draw that conclusion. “The strength of a mark is determined through
   8   the ‘imagination test,’ in which a court asks how much imagination a consumer
   9   must use to associate a given mark with the goods or services it identifies, the more
  10   imagination required, the stronger the mark is; and the ‘need test,’ which asks to
  11   what extent a mark is actually needed by competitors to identify their goods or
  12   services.” Earthquake Sound Corp. v. Bumper Indus., 352 F.3d 1210, 1221 (9th Cir.
  13   2003). “Descriptive marks define qualities or characteristics of a product in a
  14   straightforward way that requires no exercise of the imagination to be understood.”
  15   Kendall-Jackson Winery, Ltd. v. E. & J. Gallo Winery, 150 F.3d 1042, 1047 n.8
  16   (9th Cir. 1988). In other words, descriptive marks “tend to consist of common
  17   words that might be the only way to describe a category of goods.” Japan Telecom,
  18   Inc. v. Japan Telecom America Inc., 287 F.3d 866, 872 (9th Cir. 2002) (emphasis
  19   added). “Thus, ‘Honey Baked Ham’ is a descriptive term for a ham that has been
  20   baked with honey, and ‘Honey Roast’ is a descriptive term for nuts that have been
  21   roasted with honey.” Kendall-Jackson, 150 F.3d at 1047 n.8; see also Am. Tire
  22   Distributors, Inc. v. Am. Tire Corp., No. CV-08-02971-MMM-JTLX, 2009 WL
  23   10672268, at *7 (C.D. Cal. June 10, 2009) (finding “American Tire Distributors”
  24   descriptive of a tire distributor). There is zero evidence to demonstrate that the
  25   mark “Thrive” is descriptive of skincare products. Rather, at the very least,
  26   “Thrive” is suggestive of skincare products because it is not immediately apparent
  27   from the name what product is at issue. See Fin. Exp. LLC v. Nowcom Corp., 564 F.
  28   Supp. 2d 1160, 1169 (C.D. Cal. 2008) (“Although the term ‘DealTrace’ is
                                                                     PLAINTIFF’S MEMORANDUM OF
                                                                   CONTENTIONS OF FACT AND LAW
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   1   suggestive of its purpose—to trace deals—it is not immediately apparent what
   2   product is at issue or to whom the product is directed.”). Rather, consumers “must
   3   use some imagination to understand the significance of the mark.” Id. Even if
   4   “Thrive” were defined as Thrive Causemetics argues, a consumer must make a
   5   “mental leap” from “prosper or flourish” or “improve physically” to skin lotion. See
   6   Brookfield Comms., Inc. v. W. Coast Ent. Corp., 174 F.3d 1036, 1058 (9th Cir.
   7   1999). Therefore, Thrive Causemetics’ only attack on the validity of the ’303
   8   Registration should fail.
   9                2.     Facts that permit a finding of willful infringement
  10         Thrive Natural Care asserts the jury can find willful infringement if it
  11   determines Thrive Causemetics intentionally or recklessly disregarded the known
  12   trademark rights of Thrive Natural Care. Thrive Causemetics is arguing for a much
  13   narrower definition that permits a finding of willfulness only if the defendant
  14   intentionally traded on the goodwill in a known mark—a standard which leaves
  15   smaller trademark owners helpless to the intentional use of their marks by larger
  16   companies. Thrive Natural Care’s proposed standard aligns with the Ninth Circuit
  17   finding willful infringement where the defendant “utilized a mark that was similar
  18   to that of its competitor, was informed of actual confusion, and deliberately chose
  19   not to make a reasonable effort to ascertain whether it might actually be infringing.”
  20   Earthquake Sound, 352 F.3d at 1219. “Willfulness can be established by evidence
  21   of knowing conduct or by evidence that the defendant acted with ‘an indifference to
  22   plaintiff’s rights’—in other words, that defendant willfully blinded himself to facts
  23   that would put him on notice that he was infringing another’s trademarks, having
  24   cause to suspect it.” Coach, Inc. v. Celco Customs Servs. Co., No. CV-11-10787-
  25   MMM-FMOX, 2012 WL 12883972, at *6 (C.D. Cal. Oct. 31, 2012); see also
  26   Hydramedia Corp. v. Hydra Media Grp., Inc., No. CV-06-05293-DDP-JTLX, 2008
  27   WL 11336118, at *3 (C.D. Cal. Dec. 29, 2008), aff'd, 392 F. App'x 522 (9th Cir.
  28   2010) (holding “the Court finds that a showing of ‘objective recklessness’ is
                                                                    PLAINTIFF’S MEMORANDUM OF
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   1   sufficient to demonstrate willful infringement”); Capbran Holdings, LLC v.
   2   Firemall LLC, No. CV-16-02980-DSFA-FMX, 2017 WL 4769434, at *6 (C.D. Cal.
   3   Aug. 23, 2017) (“A defendant may be liable for willful trademark . . . infringement
   4   for knowing conduct or willful blindness.”); Dr. JKL Ltd. v. HPC IT Educ. Ctr.,
   5   749 F. Supp. 2d 1038, 1050 (N.D. Cal. 2010) (“Willful infringement occurs when
   6   the defendant knowingly and intentionally infringes on a trademark.”).
   7         Thrive Natural Care will show that Thrive Causemetics knew of the Thrive
   8   mark and Thrive registrations, knew that mark was for skincare products, and
   9   intentionally expanded into the same market in willful disregard of Thrive Natural
  10   Care’s rights. Those facts prove willful infringement. See, e.g., See Bellagio
  11   Jewelry, Inc. v. Croton Watch Co., Inc., No. CV 06–6672, 2008 WL 3905895, at
  12   *13 (C.D. Cal. Aug. 20, 2008) (“After receiving the cease and desist letter,
  13   [defendant] was put on actual notice, which logically demonstrates that any
  14   infringing conduct thereafter was done willfully.”); M2 Software, Inc. v. Madacy
  15   Ent., No. CV 00-2853 AHM RZX, 2003 WL 25667610, at *1 (C.D. Cal. Jan. 23,
  16   2003) (defendant’s discovery of plaintiff’s mark during trademark search was a
  17   basis for willful infringement).
  18                3.     When the clock starts on laches defense
  19         Thrive Causemetics asserts Thrive Natural Care knew it had a provable
  20   infringement claim against Thrive Causemetics in 2016, so Thrive Natural Care’s
  21   claims are barred by laches. That contention is contradicted by applicable case law
  22   and the evidence. The limitations period for laches is four years. See Miller v.
  23   Glenn Miller Prods., Inc., 454 F.3d 975, 997 n.11 (9th Cir. 2006). “If a plaintiff
  24   files suit within the applicable period of limitations for his claim, there is a strong
  25   presumption that laches does not bar the claims.” Id. at 997. A plaintiff is not
  26   “obligated to sue until its right to protection has ripened such that plaintiff knew or
  27   should have known that it had a provable infringement claim against defendant.”
  28   Tillamook Country Smoker, Inc. v. Tillamook Cty. Creamery Ass’n, 465 F.3d 1102,
                                                                      PLAINTIFF’S MEMORANDUM OF
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   1   1108 (9th Cir. 2006) (emphasis added). In other words, “the trademark owner need
   2   not sue until the likelihood of confusion looms large[.]” Id. That is not the same as
   3   the plaintiff knowing the defendant is using the potentially infringing mark. See id.
   4   A trademark holder is “not required to . . . fire both barrels of [its] shotgun instantly
   5   upon spotting a possible infringer.” Luna Distrib. LLC v. Stoli Grp. (USA), LLC,
   6   No. SA-CV-171552DOC-JDEX, 2018 WL 5099277, at *6 (C.D. Cal. July 10,
   7   2018). Further, the doctrine of progressive encroachment holds “the trademark
   8   owner need not sue in the face of de minimis infringement by the junior user” but
   9   “may wait until the junior user of a mark moves into direct competition selling the
  10   same ‘product’ through the same channels and causing actual market confusion.”
  11   Tillamook, 465 F.3d at 1110 (question is whether “the [junior user], after beginning
  12   its use of the mark, redirected its business so that it more squarely competed with
  13   plaintiff and thereby increased the likelihood of public confusion of the marks”). A
  14   common method of encroachment is “the junior user’s expansion of its business . . .
  15   into different markets.” Id.
  16         Thrive filed suit on October 2, 2020, meaning TCI has the burden of proving
  17   Thrive knew it had a valid infringement claim before October 2, 2016. TCI cannot
  18   meet that burden for two reasons. First, Thrive Natural Care’s infringement claims
  19   are based on TCI selling skincare products, not makeup, and Thrive Causemetics
  20   did not move into the skincare market until 2018. That is an expansion into a
  21   “different market,” which competes with Thrive Natural Care. See Tillamook, 465
  22   F.3d at 1110. The clock for laches on Thrive’s claims thus could only possibly have
  23   started in 2018, with TCI’s business expansion. Thrive filed suit in 2020, the year it
  24   learned that TCI was selling skincare products. Thus, TCI has no laches defense.
  25         Second, the parties had just one interaction outside the four-year laches
  26   period: Ms. Bodnar’s 2016 email stating Thrive Causemetics only sold color
  27   cosmetics to help women with cancer and requesting permission to use the “Thrive”
  28   name, which Thrive Natural Care denied. Thrive Natural Care expected Ms. Bodnar
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   1   to abide by that response and believed Thrive Causemetics would remain in its lane
   2   of color cosmetics. There were no other contacts outside the laches period. It would
   3   be unreasonable to find Thrive Natural Care should have known that infringement
   4   “loomed large” from the parties’ one interaction in 2016. The laches defense should
   5   therefore be rejected. Tillamook, 465 F.3d at 1108.
   6                4.     Standard of proof for abandonment
   7         The parties dispute the standard of proof for Thrive Causemetics’
   8   abandonment defense pertaining to the ’942 Registration. The Ninth Circuit has
   9   held that abandonment must be “strictly proved.” Prudential Ins. Co. of America v.
  10   Gibraltar Fin. Corp. of Calif., 694 F.2d 1150, 1156 (9th Cir.1982). According to
  11   McCarthy on Trademarks, “[t]he majority of courts have interpreted the ‘strictly
  12   proved’ rule to mean that evidence of the elements of abandonment must be clear
  13   and convincing.” 3 McCarthy on Trademarks and Unfair Competition § 17:12 (5th
  14   ed.); see also Cash Processing Servs. v. Ambient Entm’t, Inc., 418 F.Supp.2d 1227,
  15   1231-1232 (D. Nev. 2006) ( “While the Ninth Circuit has not defined ‘strictly
  16   proved’ further, the majority of courts applying that standard have found that
  17   evidence of abandonment must be clear and convincing.”). Courts in this District
  18   have agreed that clear and convincing evidence is the proper standard. See
  19   eMachines, Inc. v. Ready Access Memory, Inc., No. EDCV00-00374-VAP-EEX,
  20   2001 WL 456404, at *5 (C.D. Cal. Mar. 5, 2001) (“Because a trademark owner's
  21   certificate of registration is prima facie evidence of the registration and continued
  22   use of the mark, the burden of proof is on the party seeking to show abandonment,
  23   and abandonment must be shown by clear and convincing evidence.”); Partners for
  24   Health & Home, L.P. v. Seung Wee Yang, No. CV-09-07849-CBM-RZX, 2010 WL
  25   11549564, at *3 (C.D. Cal. Sept. 13, 2010) (“The burden of proof is on the party
  26   seeking to show abandonment, which must be shown by clear and convincing
  27   evidence.”). The TTAB also agrees that abandonment must be proven by clear and
  28   convincing evidence. See Winnebago Indus., Inc., 207 USPQ ¶ 335 (TTAB June
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   1   30, 1980) (“[I]t is also well settled that insofar as the question of abandonment of a
   2   mark is concerned, the burden is on petitioner to establish as a fact by clear and
   3   convincing proofs the abandonment of such mark by respondent.”). Thrive Natural
   4   Care therefore asserts that Thrive Causemetics must prove abandonment of the ’942
   5   Registration by clear and convincing evidence, not by a preponderance of evidence.
   6                5.     Validity of Ecomundi assignment and goodwill definition
   7         For an assignment of an intent-to-use trademark application to be valid, 15
   8   U.S.C. § 1060(a)(1) requires that the assignee be a successor of an “ongoing and
   9   existing business” to which the mark pertains and that the assignment include
  10   goodwill in the mark. The Trademark Trial & Appeals Board and other courts have
  11   held that this statute “must allow for the transfer of an intent to use application
  12   claiming a bona fide intention to use the mark for goods which are not yet in
  13   production or which may be in the planning stage . . . .” Exel Oyj v. D'Ascoli,
  14   Opposition No. 91160397, 2008 WL 4354180, at *7 (T.T.A.B. Sept. 19, 2008));
  15   Vacation Rental Partners, LLC v. VacayStay Connect, LLC, No. 15 CV 10656,
  16   2017 WL 1150806, at *6 (N.D. Ill. Mar. 28, 2017) (quoting Exel Oyj). “Prior to
  17   filing a statement of use, an applicant may not have actually used the mark in
  18   commerce yet, but it may have goodwill or existing business tied to the mark (e.g.,
  19   relationships based on planned use of the mark)—that is enough to ensure that a
  20   trademark has no existence separate from the product or service it symbolizes.”
  21   VacayStay, 2017 WL 1150806, at *7 (citing § 1060 legislative history). Therefore,
  22   “Section 1060(a)(1) was designed to allow assignment of intent-to-use applications
  23   before actual use.” Id.
  24         Thrive Causemetics asserts that goodwill can only be built through use in
  25   commerce of a mark and that the phrase “ongoing and existing business” in §
  26   1061(a)(1) requires use in commerce, meaning an intent-to-use application could
  27   only be assigned if the claimed mark was already in use in commerce. Thrive
  28   Natural Care believes that this is too narrow a view, as explained in the TTAB
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   1    rulings and VacayStay. It is undisputed that Ecomundi engaged in substantial
   2    business planning relating to the “Thrive” mark and Thrive-branded skincare
   3    products in 2012 and early 2013, which built goodwill in the Thrive mark. It is also
   4    undisputed that Thrive Natural Care received from Ecomundi an assignment of all
   5    goodwill in the “Thrive” trademark that had been built through these business
   6    planning activities and all of the business relating to the “Thrive” mark. The
   7    assignment thus satisfied the requirements of 15 U.S.C. § 1060(a)(1) and is valid.
   8   III.   BIFURCATION OF ISSUES
   9          Neither party has requested bifurcation.
  10   IV.    JURY TRIAL OR BENCH TRIAL
  11          Pursuant to the Court’s Summary Judgment Order granting summary
  12    judgment in Thrive Causemetics’ favor on Thrive Natural Care’s claims for a
  13    reasonable royalty and corrective advertising damages, there are no further issues
  14    that are triable to a jury. The remaining claims and defenses are equitable and
  15    should be tried to the Court. These issues include the following:
  16          1.     Federal trademark infringement in violation of 15 U.S.C. § 1114.
  17          2.     Federal unfair competition in violation of 15 U.S.C. § 1125(a).
  18          3.     Willfulness, if infringement or unfair competition is found.
  19          4.     Common law trademark infringement under California law.
  20          5.     Common law unfair competition under California law.
  21          6.     Affirmative defense of laches.
  22          7.     Statutory unfair competition in violation of Cal. Bus. & Prof. Code §
  23                 17200.
  24          8.     Disgorgement of profits under 15 U.S.C. § 1117(a).
  25          9.     A permanent injunction under 15 U.S.C. § 1115(a).
  26          10.    Enhanced damages under 15 U.S.C. § 1117(a).
  27          11.    Attorneys’ fees and costs of suit under 15 U.S.C. § 1117(a) or Cal.
  28                 Bus. & Prof. Code 17200.
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   1         12.    An award of prejudgment and post-judgment interest on all monetary
   2                awards.
   3   V.    ATTORNEYS’ FEES
   4         Thrive Natural Care believes that this is an “exceptional case” under the
   5   Lanham Act, which entitles Thrive Natural Care to an award of attorneys’ fees. See
   6   15 U.S.C. § 1117(a). An “exceptional” case “is simply one that stands out from
   7   others with respect to the substantive strength of a party's litigating position
   8   (considering both the governing law and the facts of the case) or the unreasonable
   9   manner in which the case was litigated.” Octane Fitness, LLC v. ICON Health &
  10   Fitness, Inc., 572 U.S. 545, 554 (2014). “While ‘exceptional’ is not defined in the
  11   statute, ‘generally a trademark case is exceptional for purposes of an award of
  12   attorneys’ fees when the infringement is malicious, fraudulent, deliberate, or
  13   willful.’” Zynga Game Network, Inc. v. Goh, No. C-09-05297-SBA (DMR), 2011
  14   WL 13376996, at *17 (N.D. Cal. Feb. 14, 2011), report and recommendation
  15   adopted, No. C 09-05297 SBA, 2011 WL 13376997 (N.D. Cal. Mar. 1, 2011).
  16   “Willful infringement occurs when the defendant knowingly and intentionally
  17   infringes on a trademark.” Id. “Egregious conduct is not required” for a plaintiff to
  18   be awarded fees and costs. Fifty-Six Hope Rd. Music, Ltd. v. A.V.E.L.A., Inc., 778
  19   F.3d 1059, 1078 (9th Cir. 2015).
  20         Thrive Causemetics knowingly and intentionally infringed the THRIVE mark
  21   when it began selling skincare products under the “Thrive Causemetics” brand in
  22   2018. Thrive Causemetics knew that was likely to be infringing but made the
  23   calculation to continue with its skincare launch and expansion anyway, in violation
  24   of Thrive Natural Care’s rights. Thrive Natural Care is an innocent actor who was
  25   forced to file suit and litigate through trial to protect its brand from Thrive
  26   Causemetics’ knowing infringements. These facts support that this is an
  27   “exceptional case” under the Lanham Act, and the Court therefore awards Thrive
  28   Natural Care its attorneys’ fees and costs incurred in this action. See Earthquake
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   1   Sound Corp. v. Bumper Indus., 352 F.3d 1210, 1218 (9th Cir. 2003).
   2   VI.   ABANDONMENT OF ISSUES
   3         Thrive Natural Care has not abandoned any claims that it pled in the First
   4   Amended Complaint (Dkt. 28), though pursuant to the Court’s Order on Summary
   5   Judgment (Dkt. 114), Thrive Natural Care can no longer pursue actual damages in
   6   the forms of a reasonable royalty or corrective advertising damages.
   7         Thrive Causemetics will not be pursuing the following affirmative defenses
   8   that it pled in its Answer (Dkt. 31): unclean hands; fair use; fraud on the USPTO;
   9   waiver, estoppel, or failure to mitigate (except as facts are relevant to the
  10   affirmative defense of laches); and statute of limitations.
  11    DATED: October 15, 2021                     Respectfully submitted,
  12                                                THE MCARTHUR LAW FIRM, PC
  13
                                                    By: /s/ Stephen McArthur
  14                                                    Stephen McArthur
                                                        Thomas Dietrich
  15                                                    Attorneys for Plaintiff Thrive
                                                        Natural Care
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   1                              CERTIFICATE OF SERVICE
   2   Case Name: Thrive Natural Care, Inc. v. Thrive Causemetics, Inc.
       Case No.: 2:20-cv-9091-PA-AS
   3
       IT IS HEREBY CERTIFIED THAT:
   4
              I, the undersigned, declare under penalty of perjury that I am a citizen of the
   5   United States over 18 years of age. My business address is 9465 Wilshire Blvd.,
       Ste. 300, Beverly Hills, CA 90212. I am not a party to the above-entitled action.
   6
                I have caused service of the following documents, described as:
   7
       PLAINTIFF THRIVE NATURAL CARE, INC.’S AMENDED
   8   MEMORANDUM OF CONTENTIONS OF FACT AND LAW [L.R. 16-4]
   9   on the following parties by electronically filing the foregoing on October 15, 2021,
       with the Clerk of the District Court using its ECF System, which electronically
  10   notifies them.
  11   Rollin Ransom (SBN 196126)                      Attorneys for Defendant
       rransom@sidley.com
  12   Ryan Stasell (SBN 307431)
       rstasell@sidley.com
  13   Paula Salazar (SBN 327349)
       psalazar@sidley.com
  14   SIDLEY AUSTIN LLP
       555 West Fifth St., Ste. 4000
  15   Los Angeles, CA 90013
  16   I declare under penalty of perjury under the laws of the United States of America
       that the foregoing is true and correct.
  17

  18
        Date:     10/15/2021               By: /s/ Thomas Dietrich
  19                                           Thomas Dietrich
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